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   14    Counsel for Defendants National Football
         League, NFL Enterprises LLC, and the
   15    Individual NFL Clubs
   16                               UNITED STATES DISTRICT COURT
   17                             CENTRAL DISTRICT OF CALIFORNIA
   18
         IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (JEMx)
   19
         LEAGUE’S “SUNDAY TICKET”
   20    ANTITRUST LITIGATION                        NFL DEFENDANTS’ NOTICE OF
         ______________________________              MOTION AND MOTION FOR
   21
                                                     SUMMARY JUDGMENT
   22    THIS DOCUMENT RELATES TO:
         ALL ACTIONS                                 Judge: Hon. Philip S. Gutierrez
   23
                                                     Date: October 27, 2023
   24                                                Time: 1:30 p.m.
                                                     Courtroom:
   25
                                                           First Street Courthouse
   26                                                      350 West 1st Street
   27
                                                           Courtroom 6A
                                                           Los Angeles, CA 90012
   28

        Case No. 2:15-ml-02668-PSG (JEMx)                NFL Defendants’ Notice of Motion and Motion for
                                                         Summary Judgment
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2              PLEASE TAKE NOTICE that on October 27, 2023, at 1:30 p.m., or as soon
    3   thereafter as counsel may be heard, in the courtroom of the Honorable Philip S.
    4   Gutierrez, Chief United States District Judge, Courtroom 6A, United States
    5   Courthouse, 350 West 1st Street, Los Angeles, CA 90012, the NFL Defendants 1 will,
    6   and hereby do, move pursuant to Rule 56(a) of the Federal Rules of Civil Procedure,
    7   for summary judgment.
    8              This motion is based upon this notice, the concurrently filed memorandum of
    9   points and authorities, the Statement of Undisputed Facts, exhibits, and declarations
   10   submitted in connection thereto, the pleadings, documents, and records on file in this
   11   action, any argument that may be presented to the Court on this motion, and such
   12   other matters as the Court deems appropriate.
   13              This motion is made following the conference of counsel pursuant to L.R. 7-3
   14   which took place on July 21, 2023.
   15

   16   Dated: July 28, 2023                      Respectfully submitted,
   17                                             /s/ Rakesh N. Kilaru
   18                                             Rakesh N. Kilaru (admitted pro hac vice)
                                                  Beth A. Wilkinson (admitted pro hac vice)
   19                                             Brian L. Stekloff (admitted pro hac vice)
   20
        1
         The NFL Defendants consist of: Arizona Cardinals Football Club, LLC.; Atlanta
   21
        Falcons Football Club, LLC; Baltimore Ravens Limited Partnership; Buffalo Bills,
   22   LLC; Panthers Football, LLC; The Chicago Bears Football Club, Inc.; Cincinnati
        Bengals, Inc.; Cleveland Browns Football Company LLC; Dallas Cowboys Football
   23
        Club, Ltd.; Denver Broncos Team, LLC; The Detroit Lions, Inc.; Green Bay Packers,
   24   Inc.; Houston NFL Holdings, L.P.; Indianapolis Colts, Inc.; Jacksonville Jaguars,
        LLC.; Kansas City Chiefs Football Club, Inc.; Miami Dolphins, Ltd.; Minnesota
   25
        Vikings Football, LLC; National Football League, Inc; NFL Enterprises LLC; New
   26   England Patriots LLC; New Orleans Louisiana Saints, LLC; New York Football
        Giants, Inc.; New York Jets LLC.; Raiders Football Club, LLC; Philadelphia Eagles,
   27
        LLC; Pittsburgh Steelers LLC.; Chargers Football Company, LLC; Forty Niners
   28   Football Company LLC; Football Northwest LLC; The Los Angeles Rams, LLC;
        Buccaneers Team LLC; Tennessee Football, LLC.; and Pro-Football LLC.
                                                     1
            Case No. 2:15-ml-02668-PSG (JEMx)               NFL Defendants’ Notice of Motion and Motion for
                                                            Summary Judgment
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   20                                       Counsel for Defendants National Football
   21                                       League, NFL Enterprises LLC, and the
                                            Individual NFL Clubs
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        Case No. 2:15-ml-02668-PSG (JEMx)            NFL Defendants’ Notice of Motion and Motion for
                                                     Summary Judgment
